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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,


                               Plaintiffs,


 v.                                                         Civil Action No. 1:22-cv-0481 (CJN)

 UNITEDHEALTH GROUP INCORPORATED
 and
 CHANGE HEALTHCARE INC.,

                            Defendants.


                                               ORDER

         Upon the Parties’ joint motion to release all portions of the sealed trial transcripts that do

not contain confidential information, for good cause shown, it is hereby ORDERED as follows:

      1) The sealed trial transcript lines listed below shall remain under SEAL, consistent with the

         redactions proposed by the Parties:

             a. Aug. 1, 2022 PM: 3:23, 4:2, 4:5, 4:23, 5:6–8, 5:13–20, 5:22–24, 6:1–5, 6:7, 6:9–

                 10, 6:12–22, 7:5–17; 60:5–6, 60:14, 60:16–17, 60:21–22, 61:1, 61:7, 61:12–13,

                 61:22–23, 62:2–6, 62:10–11, 62:17, 62:19–20, 63:18–19, 63:22–23, 64:5, 64:7,

                 65:5, 65:11, 65:23–67:14, 67:17–71:7, 71:11–73:17, 74:25–76:15, 78:3–9, 79:21–

                 80:21, 81:5–7, 82:21–83:9, 85:18, 87:11, 87:23.

             b. Aug. 3, 2022 AM: 101:3–4, 101:6, 101:9–10, 101:13–14, 101:17, 101:25, 102:1,

                 102:3–23, 102:25, 103:1, 103:4–7; 103:9, 104:7, 104:9, 104:15–16, 105:2, 105:8,

                 105:13, 105:23, 106:1, 106:8, 106:12–13, 106:15–16, 106:18, 106:20–22, 106:24–




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             107:1, 107:4–5, 107:12–15, 107:18–22, 107:24–108:16, 108:18, 108:23–109:5,

             109:7, 109:20–21, 109:24, 110:2, 110:4, 110:6.

          c. Aug. 3, 2022 PM: 52:21–23, 53:1–2, 53:4–6, 53:8–9, 53:16–22, 54:3–6.

          d. Aug. 5, 2022 AM: 7:24, 8:2–3, 8:5, 8:7–8, 8:11, 8:13, 8:15–16, 8:18, 8:21–22,

             8:24, 9:1–2, 9:6, 9:9, 9:12, 9:14, 9:16–18, 9:20–21, 9:24–25, 10:2–3, 10:5, 10:23–

             24, 11:3, 11:5–7, 11:10, 12:16–17, 13:9–10, 15:5–8, 15:13, 15:20.

          e. Aug. 10, 2022 AM: 110:7–111:5, 111:9—113:15, 114:2–115:4, 115:7–116:12,

             116:17–118:13, 119:24–120:3, 120:8–17, 121:5–13, 121:23–122:9, 122:13–18,

             122:23–25, 123:4–9, 123:13–125:8, 126:14–131:3, 131:13–132:6, 132:11–25,

             133:12–138:10.

   2) All other portions of the sealed trial transcripts shall be UNSEALED.

                                           SO ORDERED.



                                           _____________________________________
Date: September 19, 2022                   THE HONORABLE CARL J. NICHOLS
                                           United States District Judge




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